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                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                         )
MICHIGAN WELFARE RIGHTS                  )
ORGANIZATION, et al.                     )
                                         )
            Plaintiffs,                  )
                                         )
                        v.               )
                                         ) No. 1:20-cv-3388-EGS
                                         )
                                         )
 DONALD J. TRUMP, et al.,                )
                                         )
           Defendants.                   )
                                         )

                MOTION FOR EXTENSION OF TIME TO ANSWER
            OR OTHERWISE RESPOND TO THE AMENDED COMPLAINT


       Defendants Donald J. Trump, Donald J. Trump for President, Inc., and the Republican

National Committee (“RNC”), respectfully move the Court to extend their deadline to answer or

otherwise respond to Plaintiffs’ Amended Complaint to and including February 24, 2021.

       Plaintiffs filed this suit against Donald J. Trump and Donald J. Trump for President, Inc.

(“Trump Defendants”) on November 20, 2020. Plaintiffs then filed an Amended Complaint on

December 21, 2020, adding, for the first time, the RNC as a defendant in the lawsuit. The Amended

Complaint also added the NAACP as a plaintiff. Given the additional parties and the fact that one

of the defendants—the RNC—had not yet been served, the Trump Defendants moved to extend

their deadline to answer or respond to the Amended Complaint from January 4, 2021, to January

25, 2021. Doc. 9. That motion was granted. Minute Order (Dec. 31, 2020). The RNC was not

served until January 11, 2021. Thus, the RNC’s current deadline for answering or otherwise

responding to the Amended Complaint is February 1, 2021.

       Good cause exists to grant the relief requested. Given the existing schedule and court


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commitments of the lead counsel for the RNC, a modest 23-day extension will ensure that counsel

can diligently review the highly fact-intensive allegations and respond clearly and concisely. This

is the RNC’s first requested extension. The Trump Defendants join the motion for an extension of

time so that all Defendants are on the same schedule. An extension of time until February 24, 2021,

will not impede or delay the litigation, and no party will be prejudiced by the extension.

       In accordance with Local Rule 7(m), Defendants have conferred with counsel for Plaintiffs

regarding this requested extension of time. Plaintiffs have stated that they do not oppose the

requested extension.

       For the foregoing reasons, Defendants respectfully ask the Court to extend their deadline

to answer or respond to Plaintiffs’ Amended Complaint to and including February 24, 2021.



Dated: January 15, 2020                                  Respectfully submitted,

                                                           /s/ Cameron T. Norris
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                                                          Attorneys for Defendant
                                                          Republican National Committee




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                                   CERTIFICATE OF SERVICE

       I certify that on January 15, 2021, I electronically filed the foregoing Motion for Extension

of Time and Proposed Order with the Clerk of the Court using the CM/ECF system, which will

send notification of such filing to all counsel and parties of record.




Dated: January 15, 2021                          /s/ Cameron T. Norris
                                               Cameron T. Norris
                                               Attorney for Republican National Committee
